Case 3:19-cv-00123-DJH-CHL Document 26 Filed 12/31/19 Page 1 of 2 PageID #: 86




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

MINERVA WILLIS,

        Plaintiff,

v.                                                                Case No. 3:19-cv-00123-DJH-CHL

USAA FEDERAL SAVINGS BANK,

        Defendants.

                             NOTICE OF PENDING SETTLEMENT

        Plaintiff, Minerva Willis, by and through the undersigned counsel, hereby notifies the Court that

the parties have reached a settlement with regard to this case and are presently drafting and finalizing the

settlement agreement, and general release or documents. Upon execution of the same, the parties will file

the appropriate dismissal documents with the Court.



                                                 Respectfully submitted,

                                                 s/ Joshua Kersey______________________
                                                 Joshua Kersey
                                                 Florida Bar No.: 87578
                                                 Morgan & Morgan, Tampa, P.A.
                                                 One Tampa City Center
                                                 201 N Franklin Street, 7th Floor
                                                 Tampa, Florida 33602
                                                 Telephone: (813) 223-5505
                                                 Facsimile: (813) 559-4845
                                                 JKersey@ForThePeople.com
                                                 JessicaK@ForThePeople.com
                                                 Counsel for Plaintiff, Admitted Pro Hac Vice




                                                Page 1 of 2
Case 3:19-cv-00123-DJH-CHL Document 26 Filed 12/31/19 Page 2 of 2 PageID #: 87




                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 31, 2019, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system, which will automatically serve a copy

on all counsel of record.

                                                  s/Joshua Kersey
                                                  Joshua Kersey




                                         Page 2 of 2
